AO 245C (Rev. 09/17) Amended Judgment in aCriminalCase                                                                      !NOTE: Identify Changes with Asterisks(* J)
                     Sheet 1


                                              UNITED STATES DISTRICT COURT
                                                               Eastern District of North Carolina
                UNITED STATES OF AMERICA                                               AMENDED JUDGMENT IN A CRIMINAL CASE
                           v.
                 ELBERT TOJUAN MCNEILL                                                 Case Number: 5: I 8-CR-340-1-D
                                                                                       lJSM Number: 65851-056
Date of Original Judgment:                  8/3/2020                                    Neil Wallace Morrison
                                             (Or Date of Last Amended Judgment)        Def<!ndant's Attorney
Reason for Amendment:
D Correction of Sentence on Remand I I 8 US.C. 3742(fJ( 1) and ( 2 J)                  D Modification of Su pervisionConditions l 18 lJ.SC. §§ 3563(c) or 358J(c ))
0 Reduction of Sentence for Changed Circumstances I Fed. R. Crim.                      0 Modification of Imposed Tern, of Imprisonment for Extraordinary and
  P. 35(b J)                                                                             Compelling Reasons ( 18 U.S C. � 3582( c){ l ))
D Correction of Sentence b y Sentencing Court ( Fed. R.Crim. P. 35(a J)                D Modification of Imposed Term of Imprisonment for Rdroacti\'e Amendment( s)
@   Correction of Sentence for Clerical Mistake ( Fed. R. Crim. P. 36)                   to the Sentencin g Guidelines I 18 US.C. ;i 3582(c )(2))
                                                                                       D Direct Motion to District Court Pursuant D 28 lJ SC. § 2255 or
                                                                                         D 18 USC. § 3559( c)( 7)
                                                                                       D Modification of Restitution Order ( 18 U S.C. * 3664)


THE DEFENDANT:
@ pleaded guilty to count(s)              Is. 7s and 9s of Superseding Indictment
D  pleaded nolo contendcre to count(s)
   which was accepted b y the court.
D was found guilty on count(s)
   a fter a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                  Offense Ended

 21 U.S.C. � 846, 21 U.S.C. *          Conspiracy to Distribute and Possess With the Intent to Distribute 280            2/6/2019                                     Is
 841 (b)( I )(A) and 21 lJ.S.C. *      Grams or More of Cocaine Base (Crnck)
 84l(a)(I)


       The defendant is sentenced as provided in pages 2 through                       8          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has been found not guilty on count(s)
� Count(s)    2s - 6s and Rs or SS 1ndictmcnt          is         □       @' arc dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 davs ofanv change ofname, residence.
or mailing address until all fines, restitution. costs. and special assessments imposed bv this judgment are fullv paid.' Ifordered to pav restitution.
the defendant must notify the court and United States attorney of material changes in cconom1c circumstances.
                                                                                 8/3/:2020
                                                                                                         -··- . .. ----··· · -· ----

                                                                                l)atc of Imposition of Judgment


                                                                                      �<.;i;;l:1:� ofJ���✓�
                                                                                       James C. Dever, 111                            US District Judge
                                                                                                                                    ----         ........   _   ...   ···-----
                                                                                      Name and Title of Judge

                                                                                      2/12/2021
                                                                                      Date
 AO 245C (Rev. 09/17) Amended Jud gment in a Criminal Case
                      Sheet IA                                                                                (NOTE : Identify Changes with Asterisks(*))
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 DEFENDANT: ELBERT TOJUAN MCNEILL
 CASE NUMBER: 5:18-CR-340-1 -D

                                           ADDITIONAL COUNTS OF CONVICTION

Title & Section                   Nature of Offense                                                Offense Ended

2 1 U.S.C.§841(a)( l), 21        Possession With the Intent to Distribute a Quantity of Cocaine   2/6/20 19                       7s
U.S.C. § 84 1(b)( I )(C)         Base (Crack)




18 U.S.C. § 924(c), 18 U.S.C.    Possession of a Firean11 in Furtherance of a Drug Trafficking    2/6/20 19                       9s
§ 924(c)( l )(A)(i)              Crime
AO 245C (Rev. 09/17) Amended Judgment in a Crim inal Case
                     Sheet 2 - Imprisonment                                                                              (NOTE: Identify Changes with Asterisks(* ))
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                                                                   IMPRISONMENT

         The defendant is hereby committed to the custody of th e Federal Bureau of Pri son s to be impri soned for a
tota l term of :
Coun ts Is and 7s: I 08 months. to be served concun-ent ly
Count 9s: 60 months, to be served consecutive ly - (Total term : 168 mont hs)




~        The court makes the followin g recommendations to the Bureau o f Pri sons:

The co urt recomm ends th e defendant receive intensive substance abuse treatm ent, a medi ca l eva luati on and treatm ent, an d vocati onal and ed ucati onal
oppo1t unities. The court fwther recommends the defendant serve hi s tenn at FC I Butner, North Carolina.



[!j'     The defendant is remanded to the custody of the United States Marshal.

D        The defendant shall s urrender to the United States Marshal for thi s district:
         D      at                                      D     a. m.      D     p.m.        on

         D      as notifi ed by th e United States Marshal.

D        T he defendant shall surrender for service of sentence at th e institution designated by the Bureau of Prisons:

         D      befo re 2 p.m. on

         D      as notified by th e United States Marshal.

         D      as notified by th e Probati on or Pretrial Serv ices Offi ce.



                                                                          RETURN
I have executed th is judgment as fo llows:




         Defendant deli vered on                                                                    to

at                                                            w ith a certifi ed copy of thi s j udgment.




                                                                                                                UNIT ED STATES MARSHAL


                                                                                   By
                                                                                                            DEPUTY UNITED STATES MARS HAL
 AO 245C (Rev. 09/17) Amended Judgment in a Criminal Case
                      Sheet 3 - Supervised Release                                                                     (NOTE: Identity Changes with Asterisks(*))
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 DEFENDANT: ELBERT TOJUAN MCNEILL
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                                                           SUPERVISED RELEASE
Upon release fro m impri sonment, yo u will be on supervised release for a term of:

Co unts Is and 9s: 5 years and a tenn of 3 years on Cou nt 7s, all such lenns lo run concurrently - (Total tenn : 5 years)




                                                       MANDATORY CONDITIONS
I. You must not commit another federal, state or local crime.
2. You must not un lawfully possess a controll ed substance.
3. Yo u must refrain from any unlawful use of a contro lled substan ce. You must submit to one drug test wi thin 15 days of release from
   imprisonment and at least tv,o periodi c drug tests th ereafter, as determined by the co u1i.
        D The above dru g testing condition is suspended, based on th e co u1t's determinat ion that you pose a low ri sk of future
              substance abuse. (check if applicable)
4. D You must make restitution in acco rd ance w ith 18 U.S.C. §§ 3663 and 3663A or any other statute auth orizing a sentence of
        restitution. (check if applicable)
5. ~ You must cooperate in the coll ection of DNA as directed by the probation officer. (check if applicable)
6. D You must compl y w ith the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 I, et seq.) as
        directed by th e probati on officer, the Bu reau of Prisons, or any state sex offender registration agency in the location where you
        reside, work, are a student, or were conv icted or a qual ify ing offense. (check if applicable)
7. D You must participate in an approved program fo r domestic v io lence. (check if applicable)

You must compl y w ith the standard cond itions that have been adopted by thi s court as we ll as wi th any oth er conditi ons on the attached
page.
AO 245C (Rev. 09/17) Amended .J udgment in a Cri mi nal Case
                     Sheet 3A - Supervised Release
                                                                                                            Judgment- Page - ~ _ of
DEFENDANT: ELB ERT TOJ UAN MCNE ILL
CAS E NUMBER: 5:18-CR-340-1-D

                                         STANDARD CONDITIONS OF SUPERVISION
As part of yo ur supervised release, you must comply wi lh the fo llowin g standard conditions of supervision. These conditi ons are imposed
because they establ ish the basic expectatio ns fo r your behav ior whil e on superv ision and identi fy the min imum too ls needed by probation
officers to keep in fo rmed, report to the court about, and bring abo ut improvements in your conduct and co nd ition.

I.     You must report to the probation office in the federal judicial di stri ct where yo u are auth orized to reside within 72 hours of your
       release from impri sonment, un less the pro bation offi cer instructs yo u to report to a di ffe rent probati on office or within a different
       time fra me.
2.     After initi ally report ing to the probati on offi ce, yo u wi ll receive instructi ons fro m the court or the pro bation offi cer about how and
       when you must report to the probati on officer, and you must report to the probation officer as in structed.
3.     You must not knowingly leave the federa l judicial di strict where yo u are authori zed to res ide without first getting permission fro m
       the cowi or the probation officer.
4.     You must answer truth fully the questi ons asked by yo ur probation officer.
5.     You must li ve at a place approved by the probati on officer. If yo u plan to change where yo u live or anything about your living
       arrangements (such as the peopl e yo u live with), yo u must notify the probation officer at least IO days before the change. If noti fy ing
       the pro bation officer in advance is not poss ible due to unanti cipated circumstances, yo u must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation offi cer to visit you at any time at your home or elsewhere, and you must perm it the probation officer
       to take any items pro hibited by the conditions of yo ur supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawfu l ty pe of empl oyment, unl ess the pro bation offi cer excuses yo u fro m
       doing so. If you do not have fu ll-time employment you must try to fi nd full -time employ ment, unless the probation officer excuses
       yo u fro m doing so. If yo u plan to change where you work or anything about your work (such as yo ur pos iti on or yo ur job
       responsibiliti es), you must notify the probation office r at least IOdays before the change. If noti l'yi ng the probation officer at least IO
       days in advance is not poss ible due to unanti cipated circumstances, you must noti fy the probati on officer within 72 hours of
       becom ing aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       con victed of a felony, you must not knowi ngly comm unicate or interact with that person without fi rst getting the perm ission of th e
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer. yo u must notify the probation office r within 72 hours.
I0.    You must not own, possess, or have access to a firearm ammun ition, destructive device, or dangerou s weapon (i.e., anythi ng that
       was designed, or was modified for, the specific purpose of causing bodi ly injury or death to another person such as nunchakus or
       tasers).
11 .   You mu st not act or make any agreement with a law enforcement agency to act as a confi dential human source or in fo rmant without
       first gett ing the permi ssion of the court.
12.    If the pro bation officer detennines that yo u pose a ri sk to another person (including an organizati on), the probation officer may
       require you to noti fy the person about the ri sk and you must comply with that instru ction. The probation officer may contact the
       person and confirm that yo u have notified the person about the ri sk.
13.    You mu st fo ll ow the instructions of the probation officer related to the condit ions of supervision.



U.S. Probation Office Use Only
A U.S . probation officer has instructed me on the cond itions specifi ed by the court and has provided me with a written copy of th is
judgment containing these conditions. For furt her in fo nnation regarding these conditions, see Overview of Probation and Supervised
Release Conditions, avai lable at: www.uscowis.gov .

Defendant's Signature                                                                                          Date
AO 245C (Rev. 09/1 7) Amended Judgmen t in a Crim inal Case
                      Sheet 3D - Supervised Release                                                                   (NOTE: Identify Changes with Asteri sks(*))
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DEFENDANT: ELBERT TOJUAN MCNEILL
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                                           SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall parti cipate as directed in a program approved by the probation office for the treatm ent of narcotic add iction, drug dependency, or
  alcohol dependency which will include urin alys is testing or other drug detecti on measures and may require res idence or participation in a residential
  treatment faci lity.

  The defend ant shall consent to a warrantl ess search by a Un.i ted States Probation Officer or, at the request of the probation officer, any other law
  enforcement offi cer, of the defendant's person and premises. including any vehicle, to determine compli ance with the cond itions of thi s judgment.

  The defend an t shall cooperate in the collection of DNA as directed by the probation officer.

  The defend ant shall support his dependent(s).
AO 245C (Rev. 09/17) A mended .Judgment in a Criminal Case
                     Sheet 5 - Criminal Monetary Penalties                                                      ( NOTE : Identify Changes with Asterisks(* ))
                                                                                                     Judgment -     Page       7        of
DEFENDANT: ELBERT TOJUAN MCNEILL
CASE UM BER: 5: l 8-CR-340-1- D
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the fo ll owing total criminal monetary penalti es under the schedul e of payments on Sheet 6.
                      Assessment                     JVT A Assessment*       Fine                               Restitu tion
TOTALS             $ 300.00                      $                       $                                  $



D The determination of restitution is deferred unti I _ _ _ _· An Amended Judgmenl in a Criminal Case (AO 245C) will be
     entered after such determination.

D The defe ndant shall make restitution (including community restitution) to the fo llowing payees in th e amount li sted below.

     If the defendant makes a partial payment, each payee shall receive an approximatel y proportioned pay ment, unless specified otherwise in
     the priority order or percentage payment co lumn below. However, pursuant to 18 U.S.C. § 3664(i), all non federal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss**                       Restitu tion Ordered                      Priority or Percentage




TOTALS                               $ _ _ _ _ _ _ _ _o_
                                                       .o_o_                 $                       0.00



D     Resti tution amo unt ordered pu rsuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restituti on or fine is paid in fu ll before the
      fifteenth day a.fter the date of the judgment, pursuant to 18 U.S .C. § 36 12(t). All of the pay ment option s on Sheet 6 may be subj ect
                                                                         *
      to penalties fo r delinquency and default, pursuant to 18 U.S.C. 36 I 2(g).

D     The court determined that the defendant does not have the ability to pay interest. and it is ordered that:

      D the interest requirement is waived for            D fin e     D restitution.
      D the interest req uirement for the        D     fin e   D resti tution is modified as fo llows:


* Justice for Victims of Trafficki ng Act of 20 15, Pub. L. o. 114-22.
** Fi ndings fo r the total amount of losses are required under Chapters 109A. 11 0, 110A. and 11 3A of Titl e 18 fo r offenses committed on or
after September 13, 1994, but before April 23 , 1996.
AO 245C (Rev. 09/17) Amended Judgment in a Crimi nal Case
                     Sheet 6 - Schedu le of Pay ments                                                                   (NOTE: Identify Changes wit h Asterisks(*))
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                                                        SCHEDULE OF PAYMENTS

H av ing assessed th e defendant" s ab ility to pay, payment of th e total criminal monetary penalti es shall be due as fo llows:

A      D Lump sum pay ment of$ _ _ _ _ _ _ _ du e immediately, balance due

              D    not later th an                                      or
              D    in acco rdance with    D C,       D D,        D     E, or     D F below; or
B      D      Payment to begi n immediately (may be combined with              D C,         D D, or D F below); or
C      D Payment in equ al _ _ _ _ _ _ (e.g., weekly, monthly, qu arterly) installments of               $     _ _ _ _ _ over a period of
             _ _ _ _ _ (e.g., months or years), to commence              _ _ _ _ _ (e.g. , 30 or 60 days) after the date of this judgment; or

D      D Payment in equal _ _ _ _ _ _ (e.g., weekly. month ly. qua11erly) insta ll ments of $   _ _ _ _ _ over a period of
             _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) a fter release fro m impri sonment to a
             term of supervision ; or

E      D Payment during th e term of supervised release wi ll commence w ithin       _ _ _ _ (e.g., 30 or 60 days) after release fro m
              impri sonment. The cow1 wi ll set th e payment plan based on an assessment of the defendant's ab ility to pay at that time; or

F      [!f    Special instructions regard ing th e pay ment o f crim inal monetary penalti es:

               The special assessment in the amount of $300.00 shal l be due in fu ll immediate ly.




Unless th e cou11 has ex pressly ordered otherwise, if thi s j ud gme nt imposes imprisonment, payment of criminal monetary pena lties is due
during th e peri od of imprisonment. All criminal monetary penalti es, except those payments made through the Federal Bureau of Pri so ns'
Inmate Financial Responsibili ty Program , are made to the clerk o f the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D      Jo in t and Severa l

       Defendant and Co-Defendan t Names and Case Numbers (including defendant number), Total Amount, .Joint and Several Amou nt,
       and con·esponding payee, if appropri ate.




D      The defendant shall pay the cost of prosecution .

D      The defendant shall pay the fo llowin g court cost(s) :

[!1'   The defendant shall fo rfeit the defendant's interest in the fo ll owing property to th e United States:

        *The defendan t shall forfeit his interest in the property speci tied in the Preliminary Order of Forfeiture entered on A ugust 4, 2020.


Pay ments shall be app lied iry th~ fo llowing order: ( 1) assessmen t, (2) resti tution principal, (3) restitution interest 1 (4) fine principal, (5) fin e
interest, (6) community restttut10n, (7) JVT A assessmen t, (8) penalti es. and (9) costs, 111clud111g cost of prosecution and co urt costs.
